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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:12-CR-00213 AWI-BAM
12                                Plaintiff,               STIPULATION TO CONTINUE
                                                           SENTENCING
13   v.
                                                           DATE:       May 9, 2016
14   RICARDO SALINAS,                                      TIME:       10:00 a.m.
                                                           JUDGE:      Hon. Anthony W. Ishii
15                                Defendant.
16

17                                             STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through his counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for sentencing on January 25, 2016 at 10:00
21
     a.m.
22

23          2.      By this stipulation, the parties move to continue sentencing until May 9, 2016 at

24 10:00 a.m.

25          3.      The parties request the continuance so that defendant Salinas has adequate time to
26 fulfill all of his obligations pursuant to his plea agreement. There are facts and circumstances that

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     are currently under review that will not be resolved until approximately April 2016 that may impact
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     the sentence of Mr. Salinas. The parties therefore stipulate and request that the current date set for
 1
     sentencing be vacated and that the matter be re-set for sentencing on May 9, 2016 at 10:00 a.m. or at
 2

 3 a date and time thereafter that is convenient to the Court.

 4           4.     The parties further stipulate and request that the date for submitting formal objections
 5 to the Presentence Investigation Report and any sentencing memorandum be continued to April 25,

 6
     2016.
 7
     IT IS SO STIPULATED.
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 9
     DATED:         January 21, 2016
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11                                         /s/ Henry Z. Carbajal III
                                           HENRY Z. CARBAJAL III
12                                         Assistant United States Attorney
13
     DATED:         January 21, 2016
14

15                                         /s/John F. Garland
                                           JOHN F. GARLAND
16                                         Counsel for Defendant
                                           RICARDO SALINAS
17

18
                                                   ORDER
19
20           The Court has reviewed and considered the stipulation of the parties to continue the

21 sentencing hearing in this case. Good cause appearing, IT IS ORDERED that the sentencing hearing

22 as to defendant Ricardo Salinas is continued from January 25, 2016 to May 9, 2016 at 10:00 a.m.,

23 and that the deadline to file formal objections to the Presentence Investigation Report and sentencing

24 memoranda is extended to April 25, 2016.

25
     IT IS SO ORDERED.
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27 Dated: January 21, 2016
                                                  SENIOR DISTRICT JUDGE
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